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                     UNITED STATES DISTRICT COURT
                          DISTRICT OF HAWAII


  UNITED STATES OF AMERICA,
          Plaintiff,
      v.                                   Civ. No. 18-145 JMS RT
  SANDWICH ISLES COMMUNI-
  CATIONS, INC., et al.,
          Defendants.


                    UNITED STATES OF AMERICA’S
                 MEMORANDUM IN SUPPORT OF MOTION
                       FOR ORDER APPROVING
                  CONFIRMATION OF EXECUTION SALE




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       Plaintiff the United States of America (“United States”) respectfully requests

 that the Court grant its Motion for Order Approving Confirmation of Execution

 Sale (the “Motion”) for the reasons stated herein.

       On February 18, 2020, this Court entered an amended judgment in favor of

 the United States against Sandwich Isles in the amount of $138,557,635.82

 (“Judgment”). ECF No. 226.

       On May 1, 2020, the Clerk of Court issued a Writ of Execution in this case.

 ECF No. 260.

       On May 7, 2020, the United States Marshal for the District of Hawaii (the

 “Marshal”) executed on the property of Sandwich Isles Communications, Inc.

 (“Sandwich Isles”), and on May 11, 2020, the Marshal filed a notice on the Court’s

 docket. ECF No. 266.

       On April 22, 2024, the Court entered an Order Approving the United States

 of America’s Unopposed Motion for Order Approving Execution Sale Procedures

 (“Sale Procedures Order”). ECF No. 535. The Sale Procedures Order set certain

 bidding requirements and required all bidders to submit a bid by 5:00p.m. on May

 13, 2024, to be deemed a “Qualified Bid.”

       Pursuant to HRS § 651-43, on May 3, 2024, the U.S. Marshals Service

 posted copies of the Writ of Execution, a Notice of Execution Sale, and the list of

 personal property assets to be auctioned at the following four (4) conspicuous


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 places in the City & County of Honolulu, State of Hawaii: U.S. District Court, 300

 Ala Moana Boulevard, Honolulu, HI 96850; Circuit Court of the First Circuit, 777

 Punchbowl Street, Honolulu, Hawaii 96813; Honolulu City Hall, 530 S. King

 Street, Honolulu, Hawaii 96813; and the Hawaii State Library, 478 S. King Street,

 Honolulu, Hawaii 96813 , as well as posting at the headquarters of Sandwich Isles

 located at 77-808 Kamehameha Highway, Mililani Hawaii 96789. Iwamuro

 Declaration, ¶ 4.

       On May 9, 2024, May 10, 2024, and May 12, 2024, the execution sale of the

 Property was duly advertised in the Honolulu Star Advertiser pursuant to HRS §

 651-43, setting forth a description of the Property and the date and time of the

 execution sale. Iwamuro Declaration, ¶ 5; Iwamuro Declaration Exhibit A.

       On May 13, 2024, Hawaiian Telcom, Inc. (“HTI”) submitted a bid to

 purchase SIC’s conduit system and certain entitlements related to the operation of

 the conduits for $500,000. Iwamuro Declaration Exhibit B. Waimana Enterprises,

 Inc. (“Waimana”), and affiliate of SIC, submitted a bid to purchase all of SIC’s

 property for $10,000. Iwamuro Declaration Exhibit C.

       On May 20, 2024, at 12:00pm, William Jessup, the Acting U.S. Marshal for

 the District of Hawaii (the “Marshal”), conducted the public execution sale auction

 (the “Auction”) on the steps in front of, and in the lobby of, the United States

 Courthouse, 300 Ala Moana Boulevard, Honolulu HI 96850, to sell certain


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 personal property of Sandwich Isles subject to the Writ of Execution. Iwamuro

 Declaration, ¶ 8; Culpepper Declaration, ¶ 9.

         At the Auction, the Marshal opened bidding at $500,000 for Lot 1, the assets

 bid on by HTI. There were no topping bids for Lot 1, and HTI was selected as the

 successful bidder for Lot 1. Iwamuro Declaration, ¶ 10; Culpepper Declaration, ¶

 10. Waimana’s bid is the “Backup Bid.” Culpepper Declaration, ¶ 10.

         The Marshal then opened bidding at $100,000 for Lot 2, the remaining

 personal property of Sandwich Isles subject to the Writ of Execution. No qualified

 bidder, or other bidder, bid on Lot 2 at the Auction. The Marshal then closed the

 Auction. Iwamuro Declaration, ¶ 11; Culpepper Declaration, ¶ 11.

         HTI paid the balance of the purchase price by May 28, 2024, which the U.S.

 Marshal currently holds. Iwamuro Declaration, ¶ 12.

         In light of the foregoing, the United States therefore respectfully requests

 that the Court enter the proposed Order Approving Confirmation of Execution

 Sale.

                                [Signature Page Follows]




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 Date: June 10, 2024                Respectfully submitted,

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                                    District of Hawaii


                                    /s/ Shane Huang
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                      CERTIFICATE OF COMPLIANCE

       Pursuant to L.R. 7.4(e), I hereby certify that the preceding United States of

 America’s Memorandum in Support of Motion uses 14- point Times New Roman,

 consists of 4 pages and 645 words, not including the case caption, exhibits,

 declarations, signature block, or certificate of compliance. Accordingly, I certify

 that the document complies with the page and word limits of L.R. 7.4.


                                                    /s/Shane Huang
                                                    SHANE HUANG




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